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IN THE UNITED STATES DISTRICT COURTFOR THE DISTRICT OF COLUMBIA



                                               )

  UNITED STATES OF AMERICA,                    )

                      v.                       )         Case No. 1:22-cr-00015-APM

  THOMAS CALDWELL, KELLY                       )
  MEGGS
                                               )
                 Defendants.
                                               )


                                     ORDER

        Upon consideration of the Motion to Transfer Venue, any Opposition, Reply in Support

 thereof, any Oral Argument, and good cause having been shown, it is this _______ day of

 September, 2022, by the United States District Court for the District of Columbia ORDERED:

        Based on the foregoing, Defendants have demonstrated that they, as both are

 alleged to be members of the Oath Keepers, and/or January 6th Protestors, face

 significant potential prejudice in the District of Columbia, and due to the concerns of

 ensuring a fair and impartial jury as guaranteed by the Fifth and Sixth Amendments to the

 United States Constitution, I order a transfer as a preventative remedy.


        Accordingly, it is Ordered that the Defendants’ cases shall be transferred, and as

 the evidence submitted by the Defendants sets forth below, would reduce the bias and

 potential prejudice to these Defendants, therefore, the cases shall transfer to another

 District to be decided.


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                                Respectfully Submitted,



                                The Hon. District Judge Amit P. Mehta
                                United States District Court Judge
Copies to all Counsel via ECF
